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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 10-CIV-62264-RNS

  JAMES D. SALLAH, as Receiver for MRT LLC
  And MRT Holdings LLC,
       Plaintiff,

  vs.

  WORLDWIDE CLEARING LLC, et al.
        Defendants.
  _______________________________________/

                NOTICE OF FILING DEFENDANT’S, DAVID MORTON,
           RESPONSES TO RECEIVER’S FIRST REQUEST FOR PRODUCTION

         The Defendant, David Morton, by and through the undersigned counsel hereby gives

  notice of filing Defendant’s Responses to Receiver’s First Request For Production.


                           CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing was mailed this 30th

  day of January, 2012 to the following on the mailing list attached hereto.


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                                                       /s/ Horecia I. Walker
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